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                       UNITED STATES COURT OF APPEALS                      FILED
                                FOR THE NINTH CIRCUIT                       APR 19 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
   ATHENA COSMETICS, INC., a Delaware              No. 22-55159
   corporation,
                                                   D.C. No. 2:20-cv-05526-SVW-SHK
                   Plaintiff,                      Central District of California,
                                                   Los Angeles
    v.
                                                   ORDER
   AMN DISTRIBUTION, INC., a Delaware
   corporation; MOISHE NEWMAN, an
   individual, DBA Brush Express,

                   Defendants-Appellees,


    v.


   MARINA LOUISE LANG; SOCAL IP
   LAW GROUP, LLP,

                   Real-party-in-interest-
                   Appellants.

   Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Upon review of the record and appellants’ response, the court’s February 15,

   2022, order to show cause is discharged, and briefing in this appeal will proceed.

         The opening brief and excerpts of record are due May 23, 2022. The

   answering brief is due June 22, 2022. The optional reply brief is due within 21

   days after service of the answering brief.



   LCC/MOATT
